                  Case 2:19-cv-01116-TSZ Document 38 Filed 06/30/21 Page 1 of 2




 1                                                           THE HONORABLE THOMAS S. ZILLY
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 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9

10   RYAN DIAZ, et al.,                                No. 2:19-cv-01116-TSZ
11                          Plaintiffs,
12           v.
                                                       JOINT STATUS REPORT
13   NINTENDO OF AMERICA INC.,
14                          Defendant.
15

16           On March 2, 2020, the Court granted Defendant Nintendo of America Inc.’s Motion to
17   Compel Arbitration. ECF No. 36 (Mar. 2, 2020). The Court also stayed this action pending the
18   outcome of any arbitration and ordered the parties to file a joint status report within 14 days of
19   the completion of arbitration or by December 31, 2020. Id. at 3. In response to the joint status
20   report the parties filed on December 23, 2020, the Court ordered the parties to file another joint
21   status report within 14 days of the completion of arbitration or by July 1, 2021, whichever
22   occurred earlier. See Dkt. (Dec. 29, 2020).
23           Since the Court’s March 2, 2020, Order, some of the Plaintiffs have initiated individual
24   arbitrations, which remain pending. The parties will file with the Court a joint status report
25   within 14 days of the completion of the arbitrations.
26           //

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                 Case 2:19-cv-01116-TSZ Document 38 Filed 06/30/21 Page 2 of 2




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      Dated: June 30, 2021                     By: s/ Benjamin F. Johns (with permission)
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